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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE


MHL CUSTOM, INC.,

                   Plaintiff,

       v.
                                                      Civil Action No. 21-91-RGA
WAYDOO USA, INC. and SHENZHEN
WAYDOO INTELLIGENCE
TECHNOLOGY CO., LTD.,

                   Defendants.



                                      NOTICE OF APPEAL


       NOTICE IS HEREBY GIVEN that Defendants Waydoo USA, Inc. and Shenzhen Waydoo

Intelligence Technology Co., Ltd. (collectively “Defendants”) hereby appeal to the United States

Court of Appeals for the Federal Circuit from an Order Granting Stipulated Proposed Order on

Ongoing Royalties (D.I. 292), entered in this action on June 17, 2024 (D.I. 295), a Memorandum

Order entered in this action on July 1, 2024 (D.I. 296), a Memorandum Opinion regarding

Defendants’ renewed motions for judgment as a matter of law (D.I. 257) and associated Order

(D.I. 258), both dated September 6, 2023, a Memorandum Opinion regarding Plaintiff’s post-trial

motions (D.I. 259) and associated Order (D.I. 260), both dated September 7, 2023, Judgment dated

April 12, 2023 (D.I. 226), as amended by, inter alia, the Court’s resolution of Plaintiff’s post-trial

motions dated September 7, 2023 (D.I. 259, 260), and from all orders, opinions, decisions, and

rulings including, but not limited to, the Court’s:
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            Memorandum Opinion regarding claim construction dated June 24, 2022 (D.I. 66)

             and Claim Construction Order dated June 30, 2022 (D.I. 68);

            Order regarding claim construction dated January 3, 2023 (D.I. 142);

            Memorandum Opinion regarding the parties’ motions for summary judgment (D.I.

             153) and associated Order (D.I. 154), both dated February 3, 2023;

            Memorandum Order regarding the parties’ Daubert motions dated February 3, 2023

             (D.I. 155);

            Oral Order regarding the testimony of expert witness Christopher Barry dated

             February 22, 2023 (D.I. 160); Rulings made at the March 10, 2023 pre-trial

             conference, as reflected in the pre-trial conference transcript (D.I. 208) and

             Amended Final Joint Pretrial Order dated March 24, 2023 (D.I. 212);

            Memorandum Opinion (D.I. 201) regarding motions in limine (D.I. 167, 180), the

             Opinion dated March 20, 2023;

            Decisions, judgments, rulings, findings, decrees, instructions, and opinions made

             during and/or in connection with the March 24, 2023 through March 31, 2023 trial

             in this action, as reflected in the trial transcript (D.I. 239-244) and elsewhere.

      As part of this Notice of Appeal, Defendants submit the required filing fees.



Dated: July 16, 2024                              Respectfully submitted,

                                                  MORGAN, LEWIS & BOCKIUS LLP



                                                  By: /s/ Amy M. Dudash
                                                      John V. Gorman (#6599)
                                                      Amy M. Dudash (#5741)
                                                      1201 N. Market Street, Suite 2201



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                                           Wilmington, DE 19801
                                           Telephone: 302.574.3000
                                           Fax: 302.574.3001
                                           john.gorman@morganlewis.com
                                           amy.dudash@morganlewis.com

                                       Attorneys for Defendants
                                       Waydoo USA, Inc. and Shenzhen Waydoo
                                       Intelligence Technology Co., Ltd.




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